






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00321-CV






Barbara Ann Valdez, Appellant


v.


Author Cardona, Sr. and Amelia Perales, Appellees






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 391ST JUDICIAL DISTRICT

NO. D-10-0260-C, HONORABLE THOMAS J. GOSSETT, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N


				

	Appellant Barbara Ann Valdez, acting pro se, filed her notice of appeal on April 11,
2012.  On October 30, 2012, the clerk of this Court notified appellant that her brief was overdue
and&nbsp;that her appeal was subject to dismissal for want of prosecution unless she filed her brief
or&nbsp;responded to this notice by November 9, 2012.  To date, appellant has not responded to this
Court's notice.  Accordingly, we dismiss the appeal for want of prosecution.  See Tex. R. App.
P.&nbsp;42.3(b), (c).


					__________________________________________

					Jeff Rose, Justice

Before Justices Puryear, Pemberton and Rose

Dismissed for Want of Prosecution

Filed:   January 25, 2013


